                     Case 1:12-cr-03182-JB               Document 686          Filed 12/05/14             Page 1 of 4
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                             Judgment in a Criminal Case
                             V.

                    TIANNA CANDELARIA                                  (For Offenses Committed On or After November 1, 1987)
                                                                       Case Number: 1:12CR03182-019JB
                                                                       USM Number: 69894-051
                                                                       Defense Attorney: Leon Howard, Appointed
THE DEFENDANT:

☒     pleaded guilty to count(s) S2 of Indictment
☐     pleaded nolo contendere to count(s) which was accepted by the court.
☐     after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section                Nature of Offense                                            Offense Ended             Count Number(s)

21 U.S.C.Sec. 841(b)(1)(C) Conspiracy-Distribution of 50 Kilograms and More of a   12/14/2012                           S2
                           Mixture and Substance Containing a Detectable Amount of
                           Marijuana


The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count .
☒ Count S51 is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    December 1, 2014
                                                                    Date of Imposition of Judgment


                                                                    /s/ James O. Browning
                                                                    Signature of Judge


                                                                    Honorable James O. Browning
                                                                    United States District Judge
                                                                    Name and Title of Judge

                                                                    December 5, 2014
                                                                    Date Signed
                     Case 1:12-cr-03182-JB              Document 686             Filed 12/05/14          Page 2 of 4

AO 245B (Rev 12/10) – Sheet 4 Probation                                                                                  Judgment - Page 2 of 4



Defendant: TIANNA CANDELARIA
Case Number: 1:12CR03182-019JB


                                                             PROBATION
The defendant is hereby sentenced to probation for a term of: 5 years.

For the reasons stated on the record at the sentencing hearing held on December 1, 2014, the Court varies.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as
determined by the court.

☐ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
☒     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
      applicable).
☒     The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
☐     The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the
      state where the defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)
☐     The defendant shall participate in an approved program for domestic violence prevention. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Criminal
Monetary Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
   acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
   controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
   of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court;
                     Case 1:12-cr-03182-JB   Document 686    Filed 12/05/14    Page 3 of 4

AO 245B (Rev 12/10) – Sheet 3                                                                Judgment - Page 3 of 4


Defendant: TIANNA CANDELARIA
Case Number: 1:12CR03182-019JB


                                 SPECIAL CONDITIONS OF SUPERVISION

The defendant must refrain from the use and possession of synthetic cannabinoids or other legally sold
designer drugs.

The defendant must have no contact with the co-defendant(s) / co-conspirator(s) in this case

The defendant must submit to a search of the defendant's person, property, or automobile under the
defendant's control to be conducted in a reasonable manner and at a reasonable time, for the purpose of
detecting illegal contraband at the direction of the probation officer. The defendant must inform any
residents that the premises may be subject to a search.


The Defendant shall be required to successfully complete 50 hours of community service.
                      Case 1:12-cr-03182-JB                    Document 686      Filed 12/05/14          Page 4 of 4

AO 245B (Rev 12/10) Sheet 5, Part A – Criminal Monetary Penalties                                                        Judgment - Page 4 of 4


Defendant: TIANNA CANDELARIA
Case Number: 1:12CR03182-019JB

                                                CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
☐ The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                           $0.00                            $0.00


                                                        SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A    ☒      In full immediately; or

B    ☐      $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties: Criminal monetary penalties are to be made
payable by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque,
New Mexico 87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case
number and type of payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by
the court, the probation officer, or the United States attorney.
